      Case 6:14-cr-10072-JTM       Document 169      Filed 05/26/16    Page 1 of 2




                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF KANSAS


 United States of America,
                     Plaintiff,


                     vs.                            Case No. 14-10072-6-JTM


 Michael Carter,
                     Defendant.




                             MEMORANDUM AND ORDER



      This matter is before the court on defendant Michael Carter’s Motion to Reduce

Sentence (Dkt. 164). He seeks a reduction of his sentence for medical reasons, and because

his wife is experiencing unspecified financial difficulties. However, the court entered

judgment in the case (Dkt. 141) six months before Carter’s motion. The government has not

sought to reduce Carter’s sentence based on the provision of substantial assistance, and

Fed.R.Crim.Pr. 35 otherwise requires that motions to correct or reduce a sentence be filed

within 14 days of sentencing. In addition, Rule 35 does not authorize a court to reduce a

sentence fo reasons of ill health. See United States v. Graziano, No. 92-426-01, 1995 WL

753855, at *1 (E.D.Pa. Dec.13, 1995) (court lacks authority to reduce a sentence due to

medical hardship outside the parameters of Rule 35).
      Case 6:14-cr-10072-JTM      Document 169       Filed 05/26/16   Page 2 of 2




      IT IS ACCORDINGLY ORDERED this 26th day of May, 2016 that the defendant’s

Motion for Reduction (Dkt. 164) is denied.




                                                 ___s/ J. Thomas Marten____
                                                 J. THOMAS MARTEN, JUDGE




                                             2
